
		
				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. WRIGHT2023 OK 1Case Number: SCBD-7318Decided: 01/18/2023THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2023 OK 1, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 

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STATE OF OKLAHOMA ex rel., OKLAHOMA BAR ASSOCIATION, Complainant,
v.
KENNETH CARL WRIGHT, Respondent.



ORIGINAL PROCEEDING FOR ATTORNEY DISCIPLINE
PURSUANT TO RULES 7.2 AND 7.7 RULES
GOVERNING DISCIPLINARY PROCEEDINGS



¶0 The Oklahoma Bar Association initiated summary disciplinary proceedings against Respondent pursuant to Rules 7.2 and 7.7 of the Rules Governing Disciplinary Proceedings after he was disbarred by the Florida State Bar. Respondent has not provided any response or evidence to mitigate the severity of discipline. The Bar recommended the appropriate discipline was the same as that rendered in Florida, disbarment. After de novo review, this Court finds that Respondent is guilty of misconduct and the appropriate discipline is disbarment.



RESPONDENT DISBARRED



Tracy Pierce Nester, Assistant General Counsel, Oklahoma Bar Association, Oklahoma City, Oklahoma, for Complainant,

Kenneth Carl Wright, Orlando, Florida, Respondent.


OPINION



EDMONDSON, J.


¶1The Oklahoma Bar Association filed this reciprocal disciplinary proceeding after Respondent received attorney discipline from the State of Florida. The Respondent has not appeared or otherwise responded. The OBA recommends that Respondent be disbarred; there has been no request for the imposition of costs. We order that Respondent be disbarred.

Florida State Bar Proceeding

¶2 The Supreme Court of the State of Florida filed a disciplinary Complaint against Respondent, following his arrest and subsequent nolo contendere plea to a misdemeanor trespass charge, Case No. SC21-1216, The Florida Bar v. Kenneth Carl Wright. Wright failed to appear or otherwise respond in this Florida action. Although Respondent never formally appeared, his counsel recounted that Respondent lost his laptop computer, all forms of identification, traveled to Colorado for a period of time, and was homeless. It was alleged that at some point he was residing in Arizona. There was no indication that his official roster address was ever updated. On May 12, 2022, the Florida Supreme Court entered judgment disbarring Respondent effective immediately.

¶3 The misconduct giving rise to Respondent's disbarment includes the following four incidents:

1. Trespass -- Florida- Respondent was charged and entered a plea of Nolo Contendere to Trespass in an Occupied Structure (Refusal to Leave).

2. Burglary Arrest Colorado- Respondent was arrested in Denver, Colorado for Burglary in September, 2020. Security camera footage showed him trespassing with intent to commit theft by drinking alcohol belonging to a bar. He drank a large amount of alcohol valued at $150 as well as turning on the fryer. Respondent failed to appear for his court proceedings relating to this charge; he absconded and remains subject to a warrant for arrest and a fugitive from justice.

3. Ineligible to Practice Law in Florida - Respondent remains ineligible to practice law in Florida. In Case no. SC20-1613 (Fla. Jan. 12, 2021), Respondent failed to pay ordered administrative costs as required by the Supreme Court of Florida.

4. Failure to Pay Florida Bar Dues - Respondent failed to pay the Florida annual bar membership dues which were due on October 1, 2021.

¶4 Respondent was found guilty of violating the following Rules Regulating the Florida Bar:

3-4.3 Misconduct and Minor Misconduct. The standards of professional conduct required of members of the bar are not limited to the observance of rules and avoidance of prohibited acts, and the enumeration of certain categories of misconduct as constituting grounds for discipline are not all-inclusive nor is the failure to specify any particular act of misconduct be construed as tolerance of the act of misconduct. The commission by a lawyer of any act that is unlawful or contrary to honesty and justice may constitute a cause for discipline whether the act is committed in the course of the lawyer's relations as a lawyer or otherwise, whether committed within Florida or outside the state of Florida, and whether the act is a felony or a misdemeanor.

3-4.4 Criminal Misconduct. A determination or judgment by a court of competent jurisdiction that a member of The Florida Bar is guilty of any crime or offense that is a felony under the laws of that court's jurisdiction is cause for automatic suspension from the practice of law in Florida, unless the judgment or order is modified or stayed by the Supreme Court of Florida, as provided in these rules. The Florida Bar may initiate disciplinary action regardless of whether the respondent has been tried, acquitted, or convicted in a court for an alleged criminal misdemeanor or felony offense. The board may, in its discretion, withhold prosecution of disciplinary proceedings pending the outcome of criminal proceedings against the respondent. If a respondent is acquitted in a criminal proceeding that acquittal is not a bar to disciplinary proceedings. Likewise, the findings, judgment, or decree of any court in civil proceedings are not necessarily binding in disciplinary proceedings.

3-7.2 (e) Notice of Self-Reporting by Members of Determination or Judgment of Guilt of All Criminal Charges. A member of the Florida Bar must provide a copy of the document(s) entering a determination or judgment for any criminal offense against that member entered on or after August 1, 2006 to the executive director within 10 days of its entry.

4-8.4(b) A lawyer shall not commit a criminal act that reflects adversely on the lawyer's honesty, trustworthiness, or fitness as a lawyer in other respects.

¶5 Respondent's crimes were found to be an embarrassment to the legal profession and the type to elicit public ridicule. It was also noted that Respondent was ineligible to practice law for violation of other rules and Orders of the Florida Supreme Court. Further, Respondent never acknowledged his wrongful conduct, despite being a long-tenured member of the Florida Bar. After considering aggravating and mitigating factors, Respondent was found guilty of misconduct justifying discipline by immediate disbarment and payment of the costs in the Florida Bar proceedings.

Oklahoma Discipline

¶6 Respondent was admitted to the OBA on October 14, 1982, membership number 9916. In a prior Order by this Court, he was stricken from the Membership Rolls pursuant to the Order Striking Names dated October 4, 2021, for failure to pay OBA membership dues for the year 2020. (SCBD No. 6971, 2021 OK 48

¶7 Respondent failed to notify the OBA of the Florida discipline or of his criminal arrests and plea. The OBA filed a Notice of Criminal Conviction and Disciplinary Action in Another Jurisdiction on September 2, 2022, initiating this summary disciplinary proceeding pursuant to Rules 7.2 and 7.7 of the Rules Governing Disciplinary Proceedings (RGDP), 5 O.S. 2011 ch. 1, app. 1-A.

¶8 Respondent has not appeared or filed any responsive pleading in this matter. The Bar Association recommended disbarment as the appropriate discipline in Oklahoma. Respondent was required to notify the OBA within 20 days of the Florida discipline order that he was disbarred effective May 12, 2022. Rule 7.7(a), RGDP. He failed to provide this notice. Failure to report is grounds for discipline. Id. Respondent's disbarment by the Supreme Court of Florida "shall constitute the charge and shall be prima facie evidence the lawyer committed the acts therein described." Rule 7.7(c), RGDP.

¶9 On September 21, 2022, this Court ordered Respondent to respond by November 4, 2022 to show cause in writing why a final order of discipline should not be imposed, to request a hearing, or to file a brief and any evidence tending to mitigate the severity of discipline. The Order was forwarded to Respondent at his official roster address, but it was returned to the Court Clerk's office and stamped as "return to sender- not deliverable as addressed- unable to forward." The Order was mailed to the only address provided by Respondent as his official roster address. Respondent has not filed any response in this disciplinary matter. On November 7, 2022, we entered an Order Denying Immediate Interim Suspension noting that Respondent was currently stricken from the rolls of attorneys for failure to pay his OBA dues for the year 2020 and finding it "appears to be in the interest of justice for this Court to decline to enter an immediate interim suspension." On December 13, 2022, we entered an Order noting that an exhibit (Florida criminal proceeding) attached to the OBA's initial Notice reflected an address for Respondent that differed from his official roster address. The Court Clerk was directed to also send the listed pleadings and all Orders to respondent as follows: Kenneth Carl Wright, 644 N. Knowles Ave., Unit 10, Winter Park, Florida 32789. Respondent was given until January 10, 2023 to enter an appearance or respond to the disciplinary charges against him. The OBA filed a subsequent Proof of Attempted Mailing noting that it also mailed pleadings to Winter Park, Florida, and they were returned as being undeliverable and stamped "ATTEMPTED -- NOT KNOWN". The Court Clerk noted on the docket entry that the mailing to this address was also returned to sender- not deliverable as addressed- unable to forward. Notice by mail to a lawyer's official roster address is sufficient to satisfy due process. State ex rel. Okla. Bar Ass'n. v. Knight, 2018 OK 52State ex rel. Okla. Bar Ass'n. v. Gaines, 2016 OK 80378 P.3d 1212

¶10 The OBA filed a formal recommendation of discipline of disbarment. In support of this recommendation, the OBA noted the following: (1) Respondent is currently stricken from the rolls of attorneys for failure to pay membership dues for the year 2020 (SCBD 6971, 2021 OK 48

¶11 We agree with the OBA, Respondent's conduct in Florida violates the Oklahoma Rules of Professional Conduct, 5 O.S. 2021, ch. 1, app.3-A, Rule 8.4(a) for misconduct generally, and Rule 7.7, RGDP.

¶12 Respondent's failure to notify the OBA of the Florida discipline and failure to respond to this Court's Order of September 21, 2022, demonstrate "a total lack of respect for this Court and the process and rules that protect the public from errant lawyers." State ex rel. Okla. Bar Ass'n. v. Godlove, 2013 OK 38318 P.3d 1086

¶13 This Court exercises exclusive original jurisdiction to carry out its nondelegable responsibility to discipline lawyers and to regulate the practice of law in order to safeguard the interests of the public, the judiciary and the legal profession. State ex rel. Oklahoma Bar Ass'n v. Shofner, 2002 OK 8460 P.3d 1024de novo review with respect to every aspect of a disciplinary inquiry. Cooley, 2013 OK 42State ex rel. Oklahoma Bar Ass'n v. Smith, 2016 OK 19368 P.3d 810State ex rel. Okla. Bar Ass'n. v. Knight, 421 P.3d 2992018 OK 52

¶14 Kenneth Carl Wright is hereby disbarred upon the date this opinion becomes final. The Complainant did not file an application to recover costs of this disciplinary proceeding; therefore, no costs are assessed.

RESPONDENT DISBARRED.


ALL JUSTICES CONCUR



FOOTNOTES


State of Florida vs. Kenneth Carl Wright, Case No. 2020-MM-001947-A-0 in the County Court of the Ninth Judicial Circuit in and for Orange County, Florida.








